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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                       CASE NO: 2:14-cr-79-FtM-38DNF

FERENC PALFALVI and
AMBER PALFALVI


                                              ORDER

       This matter comes before the Court upon consideration of the file. On March 3,

2013, the Court issued a notice of hearing scheduling the instant case for an evidentiary

hearing on April 28, 2015. The evidentiary hearing will allow the Court to determine the

conversion rate of Ethylone to be applied at sentencing. Therefore, the sentencing

hearings scheduled for the defendants should be rescheduled after the evidentiary

hearing1.     The Government does not object to the continuance and agrees that the

interest of justice will be well served by granting the continuance until after the evidentiary

hearing.

       Accordingly, it is now

       ORDERED:

       1) The sentencing hearings for the above defendants is hereby CONTINUED.

       2) The sentencing for Defendant Ferenc Palfalvi will be rescheduled to May 18,

            2015 at 2:00 P.M.




1 Defense Counsel for defendant Jesse Grassmuck has filed a Motion to Continue Sentencing (Doc. #99).

The Court has issued an order granting Counsel’s request rescheduling the sentencing consistent with
the ruling in this order.
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      3) The sentencing for Defendant, Amber Palfalvi, will be rescheduled to May 18,

         2015 at 2:30 P.M.

      4) The clerk is directed to issue a notice rescheduling hearing accordingly.

      DONE AND ORDERED at Fort Myers, Florida, this March 11, 2015.




Copies: Counsel of Record




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